Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.53 Page 1 of 15



                                    TABLE OF CONTENTS

                          Exhibits to Declaration of Austin R. Henderson



                     Exhibit No:                                     Pages

Exhibit A                                         1-14




B’ank Documentdotx
Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.54 Page 2 of 15




                   EXHIBIT A

                                                                     Exhibit A
                                                                     000001
         Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.55 Page 3 of 15


Austin R. Henderson

From:                                            cmarshall@marshallestatelaw.com
Sent:                                            Thursday, January 31, 2019 10:01 AM
To:                                              Austin R. Henderson; Mainak D’Attaray
Cc:                                              tan A. Rambarran
Subject:                                         RE: Re: Re: FW: Hilario Gonzales v. Bayview



Austin,

Schedules (mine and Mainak’s) for tomorrow dont coordinate for a time to reconvene (per below). Lets
reschedule for Monday (Feb 4) afternoon, 430 pm. Or suggest another time, next week, if that does not work on
your end.

Once you confirm (or based upon a new time we have all of us confirmed), I will set up a conference call again.

Please advise,




Charles Marshall, Esq.
Law Office of Charles 1’. Mars!, all
415 Laurel St., #405
San Diego, CA 92101
crnarshaitrnarshallestatelaw. corn
Phone 619.807.2628
fax 866.575,7413



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copying of this e-mail is strictly prohibited.




        Original Message
Subject: RE: Re: Re: FW: Hilario Gonzales v. Bayview
from: “Austin R. Henderson’ <AHenderson@Klinedinstlaw.com>
Date: 1/30/19 4:47 pm
To: “cmarshall@marshallestatelaw.com” <cmarshall@marshallestatelaw.com>, “Mainak D’Attaray”
<mdattaraydattaray1aw.com>
Cc: “Ian A. Rambarran” <IRambarran@Klinedinstlaw.com>

Gentlemen,




                                                                                     1
                                                                                                                                                    Exhibit A
                                                                                                                                                    000002
     Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.56 Page 4 of 15
I misunderstood thought you were going to call me. I just called you both.   see the conference call info
now. I am free tomorrow or Friday to discuss. Thanks.




From: cmarshall@marshallestatelaw.com {mailto:cmarshall©marshallestatelaw,com]
Sent: Wednesday, January 30, 2019 4:38 PM
To: Austin R. Henderson; Mainak D’Attaray
Cc: Ian A. Rambarran
Subject: RE: Re: Re: FW: Hilarlo Gonzales v, Bayview
Importance: High




Austin and Ian,




See below. Mainak and I were on the previously scheduled conference call today 4 pm, per below.
Stayed on call between 4 and 410 pm.



Re rescheduling, that will have to be arranged.



Please advise,




Charles Marshall, Esq.

Law Office of Charles T. Marshall

415 Laurel St., #405

San Diego, CA 92101

crnarshatl@,narshaltestatetaw, corn

Phone 619.807.2628

fax 866.575.7413




                                                         2
                                                                                                      Exhibit A
                                                                                                      000003
       Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.57 Page 5 of 15


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             Original Message

Subject: RE: Re: Re: FW: Hilarlo Gonzales v. Bayview
From: cmarshall@marshallestatelaw.com
Date: 1/30/19 2:17 pm
To: ‘Austin R. Henderson” <AHenderson@Klinedinstlaw.com>, “Mainak D’Attaray”
<mdattaray@dattaraylaw.com>
Cc: “Ian A. Rambarran” <IRambarran@Klinedinstlaw.com>

See below conference call info for 4 pm conference call today Jan 30 re meet and confer re
Gonzales lawsuit referenced above.



All of the above named individuals are invited for the call.



Call in number 1-641-426-1600. Enter access code 651 3094# when prompted.




Charles Mars!, alt, Esq

Law Office of Charles T. Marshall

415 Laurel St, #405

San Diego, CA 92101

cmarshatl@marshal1estatetawcom

Phone 619807.2628

fax 866.57i 7413

                                                                                   3
                                                                                                                                                 Exhibit A
                                                                                                                                                 000004
      Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.58 Page 6 of 15




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             Original Message

Subject: RE: Re: Re: fW: Hilario Gonzales v. Bayview
From: cmarshall@marshallestatelaw.com
Date: 1/29/19 2:26 pm
To: “Austin R. Henderson” <AHenderson@Klinedinst1aw.com>, “Mainak D’Attaray”
<mdattaraydattaraylaw.com>
Cc: “Ian A. Rambarran” <IRambarraniKIinedinst1aw.corn>

Mainak and I will be on the call. Will forward number (per below) tomorrow afternoon,
for 4 pm call.




(‘harles Marshall, Esq.

Law Office of Charles 7’. Marshall

415 Laurel St., #405

San Diego, CA 92101

crnarslialt(;;iarsliallestatetaw. corn

Phone 619.807.2622

fax 866.575.7413




                                                                                   4
                                                                                                                                                   Exhibit A
                                                                                                                                                   000005
     Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.59 Page 7 of 15
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             Original Message

Subject: RE: Re: Re: fW: Hilarlo Gonzales v. Bayview
from: “Austin R. Henderson’ <AHenderson@Klinedinstlaw.com>
Date: 1/29/19 1:56pm
To: “cmarshall@marshallestatelaw.com” <cmarshall@marshallestatelaw.com>,
“Mainak D’Attaray” <mdattaray@dattaraylaw.com>
Cc: “Ian A, Rambarran” <IRambarran@Klinedinstlaw.com>

Gentlemen,



I would like to speak with the attorney of record, Mr. D’Atta ray. There is nothing to
negotiate. On a related note, a Charles Koppa again called my clients today holding
himself out as Mr. Gonzales’ attorney. In case I was not clear, aH communications
need to go throughjpyfice. This is not well-taken.




Austin




From: cmarshall@marshallestatelaw.com [mailto:cmarshall@marshallestatelaw.com]
Sent: Tuesday, January 29, 2019 1:40 PM
To: Mainak D’Attaray; Austin R. Henderson
Cc: Ian A. Rambarran
Subject: RE: Re: Re: FW: Hilario Gonzales v. Bayview




Per below, (see Mainak’s email), I will forward a conference call number and
login for everyone to join the call.




Please confirm you will be on the call (4 pm, Jan 30),




                                                                                  5
                                                                                                                                          Exhibit A
                                                                                                                                          000006
     Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.60 Page 8 of 15



charles Marshall, Esq.

Law Office of charles T, Marshall

415 Laurel St., #405

San Diego, CA 92101

crnarshall@rnarshallestatelaw. corn

Phone 619.807.2628

fax 866.5 75 7413




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             Original Message

Subject: Re: Re: F W: Hilario Gonzales v. Bayview
from: “Mainak D’Attaray” <mdattaray@dattaraylaw.com>
Date: 1/29/19 1:34pm
To: “Austin R. Henderson’ <AHenderson@klinedinstlaw.com>
Cc: “cmarsha11@marsha11estatelaw.com”
<cmarshall@marshallestatelaw.com>, “Ian A. Rambarran”
<IRambarran@klinedinstlaw.com>

Charles is handling negotiations and settlement, I will be on the call, as
well.



Please forward a conference call-in number if you have one; or I can
provide one for our use.



                                                                                 6
                                                                                                                           Exhibit A
                                                                                                                           000007
    Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.61 Page 9 of 15
Very truly yours,

Mainak DAttaray, Esq.


d’attarayIaw                     law office of manak d’attaray

Main Address

3780 Kilroy Airport Way, Suite 200

PMB: 762

Long Beach, California 90806



Maitin, Address


10262 foothill Boulevard

Lake View Terrace, California 91342


mdattaray(dattaravlay.cop

Office: (562) 256-7038

Direct: (424) 703-LAW4 [5294]

fax:        ($55) 706-LAW4 [5294]

Mobile: (310) 497-2216



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recipient of this message, please forward a copy to the sender and delete the message and its
attachments from your computer. Thank you.




On Tue. Jan 29, 2019 at 1:31 PM Austin R. Henderson
                                  wrote:

 Thanks Charles.


                                                                            7
                                                                                                        Exhibit A
                                                                                                        000008
 Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.62 Page 10 of 15



Who is the handling attorney? The operative complaint was filed by Mr.
D’Attaray’s office and docket reflects that he is the handling attorney. I am
available tomorrow at 4pm.



Thanks



From: crniallrnrshallestatelawcom
tmailto:cmarshalkmarshallestatelaw.com]
Sent: Tuesday, January 29, 2019 12:14 PM
To: Austin R. Henderson; Mainak DAttaray
Cc: Ian A. Rambarran
Subject: RE: Re: FW: Hilario Gonzales v. Bayview




Austin,




Let’s have a meet and confer on this issue (per below), tomorrow or
Thursday--tomorrow is better--to address the issues. Will call you. Let
me know if you would, whether 4 pm Jan 30, or 430 pm Jan 31, works
as the better time to have the meet and confer.




Re the previously attached Lis Pendens copy I served on Defendant
primary-party-in-interest... .doing so is required by Code (just as I did-
-certified mail), and is not an impermissible communication. In any
event, when I mailed that copy, you had still not accepted service on
behalf of Bayview, so any legal documents for which
acknowledgment was needed (as here), needed to go through the self
same Defendant.




Please advise re meet and confer time,




Qiarles Marshall, Esq,

Law Office of Charles T. Marshall

                                                        8
                                                                                Exhibit A
                                                                                000009
 Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.63 Page 11 of 15
415 Laurel St., #405

San Diego, CA 92101

crnarslwtlmarshallestatelaw. corn

Phone 619.807,2628

fax 866.575.7413




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             Original Message

Subject: RE: Re: FW: Hilario Gonzales v. Bayview
from: Austin R. Henderson”
<AHenderson@Klinedinstlaw.com>
Date: 1/28/19 5:51 pm
To: “cmarshall@marshallestatelaw.com’
<cmarshall@marshallestatelaw.com>, ‘Mainak DAttaray”

Cc: “Ian A. Rambarran’ <IRambarran@Klinedinstlaw.com>

Charles,



Please see attached from your office to my client post
litigation. Can either of you please also respond to my analysis
below and provide me with time(s) you are available to discuss
why a motion to dismiss should not be filed?



Thanks



                                                                             9
                                                                                                             Exhibit A
                                                                                                             000010
Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.64 Page 12 of 15



From: Austin R. Henderson
Sent: Friday, January 25, 2019 9:39 AM
To: TcmarshaIkmarshaIIestatelaw.com’; Mainak DAttaray
Cc: Ian A. Rambarran
Subject: RE: Re: FW: Hilario Gonzales v. Bayview




Counsel,




I have initiated a meet and confer effort regarding a motion to
dismiss. Do not try to tell me what is/is not a meet and confer
attempt. I provided you the specific facts and flaws with the
complaint outlined below and include again in this email for your
convenience. Please let me know when you are available to
discuss over the phone the below will serve as a roadmap of our
                          —




position. I am representing Bayview and Clear Recon and will
accept service as to both. Again, I would like to get your thoughts
on the issues I identify below and/or whether you are just bringing
this lawsuit as an attempt to delay the sale. It’s also interesting
that the alleged TILA rescission was not raised in the previous
lawsuit. Do we know why that is?




Thanks

         1)   The alleged notice of rescission is time barred;

         2)   This suit to enforce the rescission is time barred.

The borrower signed the DOT in June 2006, made payments in
performance of his obligation under contract, and gave notice of a
TILA rescission in 2016 with the conclusory allegation that the loan
was “not consummated.” This would go beyond the 3 day time
limit (or 3 year time limit in best case scenario for the borrower if
he really wasn’t provided TILA material disclosure
notice). Because consummation occurred on the date the loan
closed and funded, (See, e.g., Raceway Ford Cases (2016) 2 CaI.5th
161, 171) consummation occurred here in June 2006 supported
                                                         —




by the face of the complaint. Thus the rescission notice was seven
years too late. The borrower concedes the DOT was recorded June
6, 2006, more than 10 years prior to the alleged notice of
rescission.

escissionastoceain
transactions


                                                          10
                                                                        Exhibit A
                                                                        000011
 Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.65 Page 13 of 15
(a) Disclosure of obligor’s right to rescind

 Except as otherwise provided in this section, in the case of any
consumer credit transaction (including opening or increasing the
credit limit for an open end credit plan) in which a security
interest, including any such interest arising by operation of law, is
or will be retained or acquired in any property which is used as the
principal dwelling of the person to whom credit is extended, the
obligor shall have the right to rescind the transaction until
midnight of the third business day following the consummation of
the transaction or the delivery of the information and rescission
forms required under this section together with a statement
containing the material disclosures required under this subchapter,
whichever is later, by notifying the creditor, in accordance with
regulations of the Bureau, of his intention to do so. The creditor
shall clearly and conspicuously disclose, in accordance with
regulations of the Bureau, to any obligor in a transaction subject to
this section the rights of the obligor under this section. The
creditor shall also provide, in accordance with regulations of the
Bureau, appropriate forms for the obligor to exercise his right to
rescind any transaction subject to this section.

(f) Time limit for exercise of right

An obligor’s right of rescission shall expire three years after the
 date of consummation of the transaction or upon the sale of the
 property, whichever occurs first, notwithstanding the fact that the
 information and forms required under this section or any other
disclosures required under this part have not been delivered to the
obligor, except that if (1) any agency empowered to enforce the
 provisions of this subchapter institutes a proceeding to enforce the
 provisions of this section within three years after the date of
consummation of the transaction, (2) such agency finds a violation
of this section, and (3) the obligor’s right to rescind is based in
whole or in part on any matter involved in such proceeding, then
the obligor’s right of rescission shall expire three years after the
date of consummation of the transaction or upon the earlier sale
of the property, or upon the expiration of one year following the
conclusion of the proceeding, or any judicial review or period for
judicial review thereof, whichever is later.

“Consummation” Issue

Plaintiff tries to argue that the transaction was still not
consummated making his alleged 2016 rescission notice
valid. However, ‘consummation” is a defined word in the federal
regulations, It means “the time that a consumer becomes
contractually obligated on a credit transaction.” (12 C.F.R. §
1026.2(a)(13).) Consummation is determined according to state
law. (Jackson v. Grant (9th Cir. 1989) 890 F.2d 118, 120.) For this
California plaintiff, consummation occurred on the date the loan
closed and funded. (See, e.g., Raceway Ford Cases (2016) 2 Cal.Sth

                                                       11
                                                                        Exhibit A
                                                                        000012
Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.66 Page 14 of 15
161, 171.) Here, that was way back in June 2006 supported by
                                                   —




the face of the complaint. Thus the rescission notice was seven
years too late,

Lawsuit to Enforce Rescission is Time Barred

Every Court in the Ninth Circuit has further “found that the plaintiff
must bring the claim within one year of the creditor’s denial or
failure to respond.” (See, e.g., Pearce v. Bank of Am. Home Loans,
2010 U.S. Dist. LEXIS 65307, at *5 (N.D. Cal. June 8, 2010); Santos v.
Countrywide Home Loans, 2009 U.S. Dist, LEXIS 71736, at *4 (E.D.
Cal. Aug. 14, 2009); Horton u. Cal. Credit Corp. Ret., 2009 U.S. Dist.
LEXIS 20612, at *5 (S.D. Cal. Mar. 16, 2009). These courts have
found that once an obligor provides notice of rescission, section
1640(e), and not 1635(f) applies, requiring the obligor to file an
action “within one year from the date of the occurrence of the
violation.” Pearce, 2010 U.S. Dist. LEXIS 65307, at *5, In any
scenario, Plaintiff’s claim is time barred. Not only was any
purported rescission too late, so too is this suit for “enforcement
of rescission.”




From: cmarshall@marshallestatelaw.com
[mailto:cmarshali@marshallestatelaw.cornj
Sent: Tuesday, January 22, 2019 12:41 PM
To: Austin R. Henderson
Cc: Ian A. Rambarran; Mainak D’Attaray
Subject: RE: Re: FW: Hilario Gonzales v. Bayview




Austin,



I cannot tell from the email chain below, or otherwise, if you
have agreed to accept service of the complaint on behalf of
Bayview. Clear at this point only that you represent Bayview
in this matter. Do you represent Clear Recon also? Just need
to know that either way as well.



You have not initiated a meet and confer regarding an
intention to file a motion to dismiss, to my knowledge, and the
email exchange below is not such an initiation. I or Mainak
will meet and confer with you at some point this week, but
first let us know if you accept service of the complaint, as
filing a motion to dismiss indicates service issues have been
addressed.

                                                       12
                                                                         Exhibit A
                                                                         000013
Case 3:19-cv-00050-BAS-AGS Document 5-3 Filed 03/21/19 PageID.67 Page 15 of 15



Whether we meet and confer via phone or email, etc., does not
need to be addressed at this moment. That can be raised once
we have clarity on the service issue.



Please advise,



Charles Marshall, Esq.

Law Office of Charles T, Marshall

415 Laurel St., #405

San Diego, CA 92101

crnarshatl(,narsIt attestatetaw. corn

Phone 619.807.2628

fax 866.575,7413




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Subject: RE: Re: FW: Hilario Gonzales v. Bayview
from: ‘Austin R. Henderson”
<AHenderson@Klinedinstlaw.com>
Date: 1/22/19 12:11 pm
To: “cmarshall@marshallestatelaw.com”
<cmarshall@marshallestatelaw.com>
Cc: “Ian A. Rambarran”
                                                                            13
                                                                                                 Exhibit A
                                                                                                 000014
